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          Hearing Date and Time: November 19, 2019 at 10:00 a.m. (prevailing Eastern Time)
              Objection Deadline: November 15, 2019 at 4:00 p.m. (prevailing Eastern Time)
DAVIS POLK & WARDWELL LLP
450 Lexington Avenue
New York, New York 10017
Telephone: (212) 450-4000
Facsimile: (212) 701-5800
Marshall S. Huebner
Benjamin S. Kaminetzky
Timothy Graulich
Eli J. Vonnegut

Proposed Counsel to the Debtors
and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                          Chapter 11

PURDUE PHARMA L.P., et al.,                                     Case No. 19-23649 (RDD)

                 Debtors. 1                                     (Jointly Administered)


                        NOTICE OF DEBTORS’ MOTION
          ESTABLISHING PROCEDURES FOR INTERIM COMPENSATION AND
          REIMBURSEMENT OF EXPENSES FOR RETAINED PROFESSIONALS

          PLEASE TAKE NOTICE that on November 5, 2019, the above-captioned debtors and

debtors in possession (collectively, the “Debtors”), filed the Debtors’ Motion Establishing

Procedures for Interim Compensation and Reimbursement of Expenses for Retained

Professionals (the “Motion”). A hearing on the Motion will be held on November 19, 2019, at

10:00 a.m. (Prevailing Eastern Time) (the “Hearing”) before the Honorable Judge Robert D.


1
  The Debtors in these cases, along with the last four digits of each Debtor’s registration number in the applicable
jurisdiction, are as follows: Purdue Pharma L.P. (7484), Purdue Pharma Inc. (7486), Purdue Transdermal
Technologies L.P. (1868), Purdue Pharma Manufacturing L.P. (3821), Purdue Pharmaceuticals L.P. (0034),
Imbrium Therapeutics L.P. (8810), Adlon Therapeutics L.P. (6745), Greenfield BioVentures L.P. (6150), Seven
Seas Hill Corp. (4591), Ophir Green Corp. (4594), Purdue Pharma of Puerto Rico (3925), Avrio Health L.P. (4140),
Purdue Pharmaceutical Products L.P. (3902), Purdue Neuroscience Company (4712), Nayatt Cove Lifescience Inc.
(7805), Button Land L.P. (7502), Rhodes Associates L.P. (N/A), Paul Land Inc. (7425), Quidnick Land L.P. (7584),
Rhodes Pharmaceuticals L.P. (6166), Rhodes Technologies (7143), UDF LP (0495), SVC Pharma LP (5717) and
SVC Pharma Inc. (4014). The Debtors’ corporate headquarters is located at One Stamford Forum, 201 Tresser
Boulevard, Stamford, CT 06901.


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Drain, United States Bankruptcy Judge, United States Bankruptcy Court for the Southern District

of New York, at the United States Bankruptcy Court for the Southern District of New York, 300

Quarropas Street, White Plains, New York 10601 (the “Bankruptcy Court”), or at such other

time as the Bankruptcy Court may determine.

       PLEASE TAKE FURTHER NOTICE that copies of the Motion may be obtained free

of    charge      by     visiting     the     website        of   Prime   Clerk    LLC       at

https://restructuring.primeclerk.com/purduepharma.      You may also obtain copies of any

pleadings by visiting the Bankruptcy Court’s website at http://www.nysb.uscourts.gov in

accordance with the procedures and fees set forth therein.

       PLEASE TAKE FURTHER NOTICE that the Hearing may be continued or adjourned

thereafter from time to time without further notice other than an announcement of the adjourned

date or dates at the Hearing or a later hearing. The Debtors will file an agenda before the

Hearing, which may modify or supplement the motions to be heard at the Hearing.

       PLEASE TAKE FURTHER NOTICE that any responses or objections to the Motion

shall be in writing, shall comply with the Federal Rules of Bankruptcy Procedure and the Local

Bankruptcy Rules for the Southern District of New York, shall be filed with the Bankruptcy

Court (a) by attorneys practicing in the Bankruptcy Court, including attorneys admitted pro hac

vice, electronically in accordance with General Order M-399 (which can be found at

www.nysb.uscourts.gov), and (b) by all other parties in interest, on a CD-ROM, in text-

searchable portable document format (PDF) (with a hard copy delivered directly to Chambers),

in accordance with the customary practices of the Bankruptcy Court and General Order M-399,

to the extent applicable, and shall be served in accordance with General Order M-399 and the

Amended Order Establishing Certain Notice, Case Management, and Administrative




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Procedures, entered on October 24, 2019 [Docket No. 342], so as to be filed and received no

later than November 15, 2019 at 4:00 p.m. (Prevailing Eastern Time) (the “Objection

Deadline”).

         PLEASE TAKE FURTHER NOTICE that any objecting parties are required to attend

the Hearing, and failure to appear may result in relief being granted upon default.

         PLEASE TAKE FURTHER NOTICE that if no Objections are timely filed and served

with respect to the Motion, the Debtors may, on or after the Objection Deadline, submit to the

Bankruptcy Court an order substantially in the form of the proposed order annexed to the

Motion, which order may be entered without further notice or opportunity to be heard.


Dated:    November 5, 2019
          New York, New York


                                             DAVIS POLK & WARDWELL LLP

                                             By: /s/ Eli J. Vonnegut

                                             450 Lexington Avenue
                                             New York, New York 10017
                                             Telephone: (212) 450-4000
                                             Facsimile: (212) 701-5800
                                             Marshall S. Huebner
                                             Benjamin S. Kaminetzky
                                             Timothy Graulich
                                             Eli J. Vonnegut

                                             Proposed Counsel to the Debtors
                                             and Debtors in Possession




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Proposed Counsel to the Debtors
and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                          Chapter 11

PURDUE PHARMA L.P., et al.,                                     Case No. 19-23649 (RDD)

                 Debtors. 1                                     (Jointly Administered)


                      DEBTORS’ MOTION ESTABLISHING
                 PROCEDURES FOR INTERIM COMPENSATION AND
           REIMBURSEMENT OF EXPENSES FOR RETAINED PROFESSIONALS

          Purdue Pharma L.P. (“PPLP”) and its affiliates that are debtors and debtors in possession

in these proceedings (collectively, the “Debtors,” the “Company” or “Purdue”) hereby move

(this “Motion”) this Court for entry of an order, substantially in the form attached hereto as

Exhibit A (the “Order,” respectively), granting the relief described below. In support thereof,

the Debtors represent as follows:


1
  The Debtors in these cases, along with the last four digits of each Debtor’s registration number in the applicable
jurisdiction, are as follows: Purdue Pharma L.P. (7484), Purdue Pharma Inc. (7486), Purdue Transdermal
Technologies L.P. (1868), Purdue Pharma Manufacturing L.P. (3821), Purdue Pharmaceuticals L.P. (0034),
Imbrium Therapeutics L.P. (8810), Adlon Therapeutics L.P. (6745), Greenfield BioVentures L.P. (6150), Seven
Seas Hill Corp. (4591), Ophir Green Corp. (4594), Purdue Pharma of Puerto Rico (3925), Avrio Health L.P. (4140),
Purdue Pharmaceutical Products L.P. (3902), Purdue Neuroscience Company (4712), Nayatt Cove Lifescience Inc.
(7805), Button Land L.P. (7502), Rhodes Associates L.P. (N/A), Paul Land Inc. (7425), Quidnick Land L.P. (7584),
Rhodes Pharmaceuticals L.P. (6166), Rhodes Technologies (7143), UDF LP (0495), SVC Pharma LP (5717) and
SVC Pharma Inc. (4014). The Debtors’ corporate headquarters is located at One Stamford Forum, 201 Tresser
Boulevard, Stamford, CT 06901.


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                                    Jurisdiction and Venue

       1.      The Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157

and 1334 and the Amended Standing Order of Reference M-431, dated January 31, 2012

(Preska, C.J.). This is a core proceeding pursuant to 28 U.S.C. § 157(b) and, pursuant to Rule

7008 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), the Debtors

consent to entry of a final order by the Court in connection with this Motion to the extent that it

is later determined that the Court, absent consent of the parties, cannot enter a final order or

judgment consistent with Article III of the United States Constitution. Venue is proper before

the Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                          Background

       2.      On September 15, 2019 (the “Petition Date”), the Debtors each commenced with

this Court a voluntary case under chapter 11 of title 11 of the United States Code (the

“Bankruptcy Code”). The Debtors are authorized to operate their businesses and manage their

properties as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy

Code. On September 26, 2019, the United States Trustee for the Southern District of New York

(the “U.S. Trustee”) appointed the Official Committee of Unsecured Creditors (the

“Committee”) pursuant to section 1102 of the Bankruptcy Code [D.I. 131]. No request has been

made for the appointment of a trustee or examiner in above-captioned chapter 11 cases (the

“Chapter 11 Cases”).

       3.      These chapter 11 cases are being jointly administered pursuant to Bankruptcy

Rule 1015(b) and the Order Directing Joint Administration of Chapter 11 Cases [D.I. 59]

entered by the Court in each of the chapter 11 cases.

       4.      Additional information about the Debtors’ businesses and the events leading up to

the Petition Date can be found in the Debtors’ Informational Brief [D.I. 17].


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                                        Relief Requested

       5.      By this Motion, the Debtors seek entry of an order approving the Compensation

Procedures (as defined below) for an orderly, regular process for the allowance and payment of

compensation and reimbursement of expenses for attorneys and other professionals whose

retentions are approved by the United States Bankruptcy Court for the Southern District of New

York pursuant to sections 327 or 1103 of title 11 of the Bankruptcy Code and who will be

required to file applications for allowance of compensation and reimbursement of expenses

pursuant to sections 330 and 331 of the Bankruptcy Code.

       6.      The Debtors have filed or will file applications to retain the following

professionals (collectively, the “Debtors’ Professionals”): (a) Davis Polk & Wardwell LLP, as

legal counsel; (b) Skadden, Arps, Slate, Meagher & Flom LLP, as special counsel; (c) Dechert

LLP, as special counsel; (d) King & Spalding LLP, as special counsel; (e) Wilmer Cutler

Pickering Hale and Dorr LLP, as special counsel; (f) PJT Partners LP, as investment banker; (g)

AlixPartners, as financial advisor; (h) Ernst & Young LLP, as independent auditor and

accounting services provider; and (i) Prime Clerk LLC, as administrative advisor. The Debtors

may also retain other professionals pursuant to section 327 of the Bankruptcy Code during the

course of these chapter 11 cases. The Committee will similarly file applications to retain certain

professionals, including, but not limited to: Akin Gump Strauss Hauer & Feld LLP; Bayard,

P.A.; Province, Inc. and Jefferies LLC (collectively, with the Debtors’ Professionals, the

“Professionals”).

       7.      The Debtors believe that establishing orderly procedures for the payment of the

Professionals will streamline the administration of these chapter 11 cases and promote efficiency

for this Court, the United States Trustee, and all parties in interest. Specifically, a streamlined

process for serving interim and final fee applications (each, an “Application”), and the notices


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thereof, is in the best interests of the Debtors because it will facilitate efficient review of the

Professionals’ fees and expenses, while saving the Debtors’ estates unnecessary administrative

expenses.

       8.          In addition, the members of the Committee include natural persons who may be

significantly burdened by delaying reimbursement of actual and necessary expenses incurred in

the performance of their duties as members of the Committee until the Objection Deadline has

passed. Accordingly, the Debtors request the authority to reimburse such expenses promptly

upon the receipt of invoices therefore.

                               The Proposed Compensation Procedures

       9.          Pursuant to section 331 of the Bankruptcy Code, all professionals are entitled to

submit applications for interim compensation and reimbursement of expenses every 120 days, or

more often if this Court permits. See 11 U.S.C. § 331. In addition, section 105(a) of the

Bankruptcy Code authorizes this Court to issue any order “necessary or appropriate to carry out

the provisions of [the Bankruptcy Code],” thereby codifying this Court’s inherent equitable

powers. See 11 U.S.C. § 105(a).

       10.         The Debtors propose that the monthly payment of compensation and

reimbursement of expenses of the Professionals (the “Compensation Procedures”) be

structured as follows, which is in general conformity with General Order M-412:

             (i)       On or before the last day of each month following the month for which
                       compensation is sought (or as soon thereafter as reasonably practicable),
                       each Professional seeking compensation shall serve a monthly statement
                       (the “Monthly Fee Statement”), on the following parties (the
                       “Application Recipients”): (i) Purdue Pharma L.P., 201 Tresser Blvd,
                       Stamford,       CT     06901,     Attn:      Jon      Lowne,      Email:
                       Jon.Lowne@pharma.com; (ii) counsel to the Debtors, Davis Polk &
                       Wardwell LLP, 450 Lexington Avenue, New York, New York 10017,
                       Attn.: Christopher Robertson and Dylan Consla, Email:
                       christopher.robertson@davispolk.com,      dylan.consla@davispolk.com;
                       (iii) counsel to the Committee: (a) Akin Gump Strauss Hauer & Feld


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                   LLP, One Bryant Park, Bank of America Tower, New York, NY 10036-
                   6745, Attn: Arik Preis, Email: apreis@akingump.com and Sara L.
                   Brauner, Email: sbrauner@akingump.com; and (b) Bayard, P.A., 600 N.
                   King Street, Suite 400, Wilmington, DE 19801, Attn: Justin R. Alberto
                   and Daniel N. Brogan, Email: jalberto@bayardlaw.com and
                   dbrogan@bayardlaw.com; and (iv) the Office of the United States
                   Trustee, U.S. Federal Office Building, 201 Varick Street, Suite 1006,
                   New York, New York 10014, Attn: Paul K. Schwartzberg, Email:
                   Paul.Schwartzberg@usdoj.gov. All Professionals shall file their Monthly
                   Fee Statements for the period from the effective date of their retention
                   through November 30, 2019 by December 31, 2019 or as soon thereafter
                   as reasonably practicable and otherwise in accordance with the
                   procedures set forth in this motion.

          (ii)     On or before the last day of each month following the month for which
                   compensation is sought (or as soon thereafter as reasonably practicable),
                   each Professional shall file a Monthly Fee Statement with this Court;
                   however, a courtesy copy need not be delivered to Chambers because
                   this Order is not intended to alter the fee application requirements
                   outlined in sections 330 and 331 of the Bankruptcy Code. Professionals
                   shall still be required to serve and file interim and final applications for
                   approval of fees and expenses in accordance with the relevant provisions
                   of the Bankruptcy Code, the Bankruptcy Rules, and the Local
                   Bankruptcy Rules.

          (iii)    Any Professional that fails to file a Monthly Fee Statement for a
                   particular month or months may subsequently submit a consolidated
                   Monthly Statement that includes a request for compensation earned or
                   expenses incurred during previous months.

          (iv)     Each Monthly Fee Statement must contain a list of the individuals who
                   provided services during the period covered by the Monthly Fee
                   Statement, their respective titles (e.g., attorney, accountant, paralegal,
                   etc.), their respective billing rates, the aggregate hours spent by each
                   individual, a reasonably detailed breakdown of the disbursements
                   incurred (no professional should seek reimbursement of an expense that
                   would otherwise not be allowed pursuant to the Local Rules and this
                   Court’s Amended Guidelines for Fees and Disbursements for
                   Professionals in Southern District of New York Bankruptcy Cases, dated
                   June 17, 2013), and contemporaneously maintained time entries
                   (redacted or modified to protect any privileged) for each individual in
                   increments of tenths (1/10) of an hour or as close thereto as practicable
                   unless otherwise ordered by this Court.

          (v)      Any Application Recipient shall have at least 14 days after the filing of a
                   Monthly Fee Statement to review it and, if such party has an objection to
                   the compensation or reimbursement sought in a particular Monthly Fee


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                   Statement (an “Objection”), such party shall, by no later than 12:00
                   p.m. (prevailing Eastern Time) on the date that is 14 days following the
                   filing of the particular Monthly Fee Statement (the “Objection
                   Deadline”), serve via electronic mail upon the Professional whose
                   Monthly Fee Statement is the subject of an Objection, a written “Notice
                   of Objection to Fee Statement” setting forth the nature of the Objection
                   and the amount of fees or expenses at issue.

          (vi)     At the expiration of the Objection Deadline, the Debtors shall promptly
                   pay 80% of the fees and 100% of the expenses identified in each
                   Monthly Fee Statement to which no Objection has been served in
                   accordance with paragraph (v) above.

          (vii)    If a Notice of Objection to Fee Statement with respect to a particular
                   Monthly Fee Statement is served, the Debtors shall withhold payment of
                   only that portion of the Monthly Fee Statement to which the Objection is
                   directed and promptly pay the remainder of the fees and disbursements
                   in the percentages set forth in paragraph (vi) above.

          (viii) If an Objection is resolved and if the party whose Monthly Fee
                 Statement was the subject of the Objection serves on all Application
                 Recipients a statement indicating that the Objection has been withdrawn
                 and describing the terms of the resolution, then the Debtors shall
                 promptly pay, in accordance with paragraph (vi) above, that portion of
                 the Monthly Fee Statement that is no longer subject to the Objection.

          (ix)     All Objections that are not resolved by the parties shall be preserved and
                   presented to this Court at the next interim or final fee application to be
                   heard by this Court in accordance with paragraph (xii) below.

          (x)      The service of a Notice of Objection to Fee Statement in accordance
                   with paragraph (v) above shall not prejudice the objecting party’s right
                   to object to any fee application made to this Court in accordance with
                   the Bankruptcy Code on any ground, whether raised in the Objection or
                   not. Furthermore, the decision by any party not to object to a Monthly
                   Fee Statement shall not be a waiver of any kind or prejudice that party’s
                   right to object to any fee application subsequently made to this Court in
                   accordance with the Bankruptcy Code.

          (xi)     Commencing with the period ending January 31, 2020, and for each four
                   month interval thereafter (each, an “Interim Fee Period”), each of the
                   Professionals shall file with this Court an application (an “Interim Fee
                   Application”) for interim Court approval and allowance, pursuant to
                   sections 330 and 331 of the Bankruptcy Code (as the case may be), of
                   the compensation and reimbursement of expenses requested in the
                   Monthly Fee Statements served during such Interim Fee Period. Each
                   Professional shall file its Interim Fee Application no later than 45 days


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                   after the end of the Interim Fee Period. Each Professional shall file its
                   first Interim Fee Application on or before March 16, 2020, and the first
                   Interim Fee Application shall cover the Interim Fee Period from the
                   Petition Date (or the effective date of the Professional’s retention)
                   through and including January 31, 2020.

          (xii)    The Debtors’ attorneys shall obtain a date from this Court for the
                   hearing to consider Interim Fee Applications for all Professionals (the
                   “Interim Fee Hearing”), which shall be scheduled no earlier than 45
                   days after the expiration of the 45 day period set forth in paragraph (xi)
                   above, unless otherwise agreed to by the Debtors, the Committee and the
                   U.S. Trustee. At least 30 days prior to the Interim Fee Hearing, the
                   Debtors’ attorneys shall file a notice with this Court, with service upon
                   the U.S. Trustee and all Professionals, setting forth the time, date, and
                   location of the Interim Fee Hearing, the period covered by the Interim
                   Fee Applications, and the objection deadline. Any Professional unable to
                   file its own Interim Fee Application with this Court shall deliver to the
                   Debtors’ attorneys a fully executed copy with original signatures, along
                   with service copies, three business days before the filing deadline. The
                   Debtors’ attorneys shall file and serve such Interim Fee Application.

          (xiii) Any Professional who fails to timely file an Interim Fee Application
                 seeking approval of compensation and expenses previously paid
                 pursuant to a Monthly Fee Statement shall (i) be ineligible to receive
                 further monthly payments of fees or reimbursement of expenses as
                 provided herein until such Interim Fee Application is filed, and (ii) may
                 be required to disgorge any fees paid since retention or the last fee
                 application, whichever is later.

          (xiv)    The pendency of an Interim Fee Application or a Court order that
                   payment of compensation or reimbursement of expenses was improper
                   as to a particular Monthly Fee Statement shall not disqualify a
                   Professional from the future payment of compensation or reimbursement
                   of expenses as set forth above, unless otherwise ordered by this Court.

          (xv)     Neither the payment of, nor the failure to pay, in whole or in part,
                   monthly compensation and reimbursement as provided herein shall have
                   any effect on this Court’s interim or final allowance of compensation
                   and reimbursement of expenses of any Professionals. To the extent
                   authorized by the Court, including in an order allowing a Professional’s
                   Interim Fee Application, the Debtors shall be authorized to promptly pay
                   such Professional all allowed requested fees (including the 20%
                   “holdback”) and expenses not previously paid.

          (xvi)    The attorneys for the Committee may, in accordance with the
                   Compensation Procedures, collect and submit statements of expenses,
                   with supporting vouchers, from members of the Committee; provided,


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                    that these reimbursement requests must comply with the Bankruptcy
                    Court’s Amended Guidelines for Fees and Disbursements for
                    Professionals in Southern District of New York Bankruptcy Cases, dated
                    January 29, 2013, and any other applicable fee and expense guidelines
                    adopted by the Court. Notwithstanding the foregoing, the Debtors are
                    authorized to pay promptly upon the receipt of invoices therefore the
                    actual and necessary expenses, other than compensation and
                    reimbursement specified in paragraph 4 of section 503(b) of the
                    Bankruptcy Code, incurred by any natural person who is a member of
                    the Committee in the performance of the duties of the Committee. The
                    payment of such expenses as provided herein shall be subject to, and
                    shall not have any effect on, this Court’s interim and final allowance of
                    reimbursement of such expenses.

          11.   The Debtors further request that this Court limit service of the Applications to the

Application Recipients as set forth herein. The Debtors further request that all other parties that

have filed a notice of appearance with the Clerk of this Court and requested notice of pleadings

in these chapter 11 cases shall be entitled to receive only notice of hearings on the Applications

(the “Hearing Notice”). Serving the Applications and the Hearing Notices in this manner will

permit the parties most active in these chapter 11 cases to review and object to the Professionals’

fees and will save unnecessary duplications and mailing expenses.

                                          Basis for Relief

          12.   Pursuant to section 331 of the Bankruptcy Code, all professionals are entitled to

submit applications for interim compensation and reimbursement of expenses every 120 days, or

more often if this Court permits. In addition, section 105(a) of the Bankruptcy Code authorizes

this Court to issue any order “necessary or appropriate to carry out the provisions of [the

Bankruptcy Code],” thereby codifying this Court’s inherent equitable powers. 11 U.S.C. §

105(a).

          13.   Factors considered by courts in deciding whether to establish interim

compensation procedures include “the size of [the] reorganization cases, the complexity of the

issues involved, and the time required on the part of the attorneys for the debtors in providing


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services necessary to achieve a successful reorganization of the debtors.” See, e.g., In re Int’l

Horizons, Inc., 10 B.R. 895, 897 (Bankr. N.D. Ga. 1981) (establishing procedures for monthly

interim compensation).

         14.   The significant size of these cases and the amount of time and effort that will be

required from the Professionals to successfully reorganize the Debtors’ businesses justifies the

Compensation Procedures requested herein. Indeed, such Compensation Procedures are

necessary to ensure that the Professionals are fairly and timely compensated for their services in

these cases and are not forced to bear undue financial burden or risk caused by delays in

payment.

         15.   Courts in this jurisdiction have approved relief similar to the relief requested

herein. See, e.g., In re Windstream Holdings, Inc., Case No. 19-22312 (RDD) (Bankr. S.D.N.Y.

Feb. 25, 2019); In re Aegean Marine Petroleum Network Inc., Case No. 18-13374 (MEW)

(Bankr. S.D.N.Y. Dec. 6, 2018); In re Nine West Holdings, Inc., Case No. 18-10947 (SCC)

(Bankr. S.D.N.Y. June 5, 2018); In re Cenveo, Inc., Case No. 18-22178 (RDD) (Bankr. S.D.N.Y.

Mar. 8, 2018); In re Runway Liquidation Holdings, LLC, Case No. 17-10466 (SCC) (Bankr.

S.D.N.Y. Mar. 29, 2017); In re Avaya, Case No. 17-10089 (SMB) (Bankr. S.D.N.Y. Mar. 28,

2017).

         16.   The Debtors believe the proposed Compensation Procedures will enable them to

closely monitor case administration costs, maintain level cash flow availability, and implement

efficient cash management procedures. Moreover, the Compensation Procedures will allow this

Court and key parties in interest to ensure the reasonableness and necessity of the compensation

and reimbursement sought by Professionals.




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        17.     The Debtors submit that establishing the foregoing Compensation Procedures will

significantly aid the efficient administration of these chapter 11 cases. Accordingly, the Debtors

believe the relief requested herein is in the best interests of the Debtors’ estates, creditors, and

parties in interest.

                        Waiver of Bankruptcy Rule 6004(a) and 6004(h)

        18.     To successfully implement the foregoing, the Debtors request that this Court enter

an order providing that notice of the relief requested herein satisfies Bankruptcy Rule 6004(a)

and that the Debtors have established cause to exclude such relief from the 14-day stay period

under Bankruptcy Rule 6004(h).

                                      Reservation of Rights

        19.     Nothing contained herein or any action taken pursuant to such relief is intended or

shall be construed as (a) an admission as to the validity or priority of any claim against the

Debtors; (b) a waiver of the Debtors’ or any appropriate party in interest’s rights to dispute the

amount of, basis for or validity or priority of any claim against the Debtors; (c) a waiver of any

claims or causes of action which may exist against any creditor or interest holders; or (d) an

approval, assumption, adoption or rejection of any agreement, contract, lease, program or policy

between the Debtors and any third party under section 365 of the Bankruptcy Code.

                                               Notice

        20.     Notice of this Motion will be provided as to: (a) the entities on the Master Service

List (as defined in the Amended Order Establishing Certain Notice, Case Management, and

Administrative Procedures, entered on October 24, 2019 [Docket No. 342] and available on the

Debtors’ case website at https://restructuring.primeclerk.com/purduepharma) and (b) any person

or entity with a particularized interest in the subject matter of this motion.        The Debtors

respectfully submit that no further notice is required.


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                                      No Previous Request

       21.     No previous request for the relief sought herein has been made by the Debtors to

this or any other court.

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       22.     WHEREFORE, the Debtors respectfully request that the Court grant the relief

requested herein and such other and further relief as is just and proper.

Dated: November 5, 2019
       New York, New York




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